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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

                                       )
EVANSTON INSURANCE COMPANY,            )
                                       )
                                       )
      Plaintiff,                       )
                                       )
      v.                               )              No. 8:16-cv-02324-EAK-TBM
                                       )
WILLIAM KRAMER & ASSOCIATES,           )
LLC,                                   )
                                       )
                                       )
      Defendant.                       )
_______________________________________)



                    RICHARD A. SIMPSON’S DESIGNATION
              AND CONSENT TO ACT PURSUANT TO LOCAL RULE 2.02


       Richard A. Simpson, pursuant to Local Rule 2.02 governing the special admission of non-

resident attorneys to practice before this Court, by his signature below, designates Cody German

of the law firm of Cole, Scott & Kissane, P.A., who is a resident in Florida, and a member of the

Bar of this Court, as Florida counsel upon whom all notices and papers may be served and who

will be responsible for the progress of the case, including the trial in the event of my default. The

fee and e-mail registration requirements of Local Rule 2.01(d) will be complied with. Further,

Cody German, by his signature below, consents to such designation.
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 /s/ Richard A. Simpson                  /s/ Cody German
RICHARD A. SIMPSON, ESQUIRE              CODY GERMAN, ESQUIRE
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Counsel for Defendant William Kramer
& Associates, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was sent via ECF this 5th day of November,
2019, to counsel for Plaintiff Jeffrey W. Gibson, Joshua Magidson, and Ashley E. Taylor,
Macfarlane Ferguson & McMullen, Post Office Box 1669, Clearwater, FL 33757.

                                                    /s/ Cody German
                                                    Counsel for Defendant William Kramer &
                                                    Associates, LLC
